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                                #:21238



  1 ERIC BALL (CSB No. 241327)
    eball@fenwick.com
  2 KIMBERLY CULP (CSB No. 238839)
    kculp@fenwick.com
  3 FENWICK & WEST LLP
    801 California Street
  4 Mountain View, CA 94041
  5 Telephone: 650.988.8500
    Facsimile: 650.938.5200
  6
    MOLLY R. MELCHER (CSB No. 272950)
  7 mmelcher@fenwick.com
    ANTHONY M. FARES (CSB No. 318065)
  8 afares@fenwick.com
    ETHAN M. THOMAS (CSB No. 338062)
  9 ethomas@fenwick.com
    FENWICK & WEST LLP
 10 555 California Street, 12th Floor
 11 San Francisco, CA 94104
    Telephone: 415.875.2300
 12
      Additional Counsel listed on next page
 13
    Attorneys for Plaintiff
 14 YUGA LABS, INC.
 15
 16                              UNITED STATES DISTRICT COURT
 17                            CENTRAL DISTRICT OF CALIFORNIA
 18                              WESTERN DIVISION – Los Angeles
 19
 20 YUGA LABS, INC.,                              Case No.: 2:22-cv-04355-JFW-JEM
 21                     Plaintiff,                DECLARATION OF ERIC BALL IN
                                                  SUPPORT OF NOTICE OF
 22          v.                                   AMENDED OFFER OF PROOF FOR
 23                                               LAUREN KINDLER
      RYDER RIPPS, JEREMY CAHEN,
 24
                        Defendants.
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      BALL DECL. ISO NOTICE OF AMENDED OFFER OF                 Case No. 2:22-cv-04355-JFW-JEM
      PROOF FOR LAUREN KINDLER
Case 2:22-cv-04355-JFW-JEM Document 287-1 Filed 06/08/23 Page 2 of 4 Page ID
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  1 MELISSA L. LAWTON (CSB No. 225452)
    mlawton@fenwick.com
  2 FENWICK & WEST LLP
    228 Santa Monica Boulevard
  3 Santa Monica, CA 90401
    Telephone: 310.434.4300
  4
  5 DAVID Y. SILLERS (admitted pro hac vice)
    david@clarelocke.com
  6 KATHRYN HUMPHREY (admitted pro hac vice)
    kathryn@clarelocke.com
  7 MEGAN L. MEIER (admitted pro hac vice)
    megan@clarelocke.com
  8 CLARE LOCKE LLP
    10 Prince Street
  9 Alexandria, VA 22314
    Telephone: 202.628.7400
 10
 11 Attorneys for Plaintiff
    YUGA LABS, INC.
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      BALL DECL. ISO NOTICE OF AMENDED OFFER OF            Case No. 2:22-cv-04355-JFW-JEM
      PROOF FOR LAUREN KINDLER
Case 2:22-cv-04355-JFW-JEM Document 287-1 Filed 06/08/23 Page 3 of 4 Page ID
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  1           I, Eric Ball, declare as follows:
  2           1.      I am an attorney admitted to practice in California and a partner at the
  3 law firm of Fenwick & West LLP (“Fenwick”), counsel for Plaintiff Yuga Labs, Inc.
  4 (“Yuga Labs”) in the above-captioned matter. I am Lead Counsel for Yuga Labs in
  5 this action. I make this declaration based on my own personal knowledge. If called
  6 as a witness, I could testify competently to the facts set forth here.
  7           2.      Attached as Exhibit A is a true and correct copy of a June 6, 2023 tweet
  8 by Jeremy Cahen and accompanying replies.
  9           3.      Attached as Exhibit B is a true and correct copy of a June 6, 2023 tweet
 10 by Jeremy Cahen, retweeted by Ryder Ripps.
 11           4.      NFTGO is a blockchain analytics webpage that aggregates data on NFTs
 12 and provides publicly available information about NFTs. Attached as Exhibit C is a
 13 true and correct copy of an NFTGO “analytics” page for BAYC NFTs on June 7,
 14 2023.
 15           5.      Attached as Exhibit D is a true and correct copy of an NFTGO
 16 “overview” page for BAYC NFTs captured on June 7, 2023.
 17           6.      Attached as Exhibit E is a true and correct copy of an NFTGO
 18 “analytics” page for RR/BAYC NFTs captured on June 7, 2023.
 19           7.      Attached as Exhibit F is a true and correct copy of an NFTGO
 20 “overview” page (short version) for RR/BAYC NFTs captured on June 7, 2023.
 21           8.      Attached as Exhibit G is a true and correct copy of an NFTGO
 22 “overview” page for RR/BAYC NFTs captured on June 7, 2023.
 23           9.      Attached as Exhibit H is a true and correct copy of an OpenSea
 24 “analytics” page for BAYC NFTs captured on June 7, 2023.
 25           10.     Attached as Exhibit I is the Amended Offer of Proof for Lauren Kindler.
 26           11.     Attached as Exhibit J is a redline of changes between the original and
 27 amended Offers of Proof for Lauren Kindler.
 28

      BALL DECL. ISO NOTICE OF AMENDED OFFER OF
      PROOF FOR LAUREN KINDLER                    1                  Case No. 2:22-cv-04355-JFW-JEM
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  1           12.     Attached as Exhibit K is “Exhibit G” to the Amended Offer of Proof for
  2 Lauren Kindler.
  3
  4           I declare under penalty of perjury under the laws of the State of California and
  5 of the United States that, to the best of my knowledge, the foregoing is true and
  6 correct.
  7           Executed on June 8, 2023.
  8
                                                      /s/ Eric Ball
  9                                                Eric Ball
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      BALL DECL. ISO NOTICE OF AMENDED OFFER OF
      PROOF FOR LAUREN KINDLER                    2                   Case No. 2:22-cv-04355-JFW-JEM
